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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

PETER BARRY, et al.,                              Hon. Joel A. Pisano,
          Plaintiff(s),                     x     U.S.D.J.
                                            x
                                                 ORDER
WYSE FINANCIAL SERVICES, INC.,
          Defendant(s),                    x     Civil Action 09-3007(JAP)
                                           x

        It appearing that it has been reported to the Court that the

above captioned action has been settled in its entirety;

        IT IS on this 15TH day of December, 2009,

        ORDERED THAT:

        (1) This action is hereby DISMISSED without costs and without

prejudice to the right, upon motion and good cause shown within 60

days, to reopen this action if the settlement is not consummated;

and

        (2)    If any party shall move to set aside this Order of

Dismissal as provided in the above paragraph or pursuant to the

provisions of Fed.R.Civ.P. 60 (b), in deciding such motion the Court

retains jurisdiction of the matter to the extent necessary to

enforce the terms and conditions of any settlement entered into

between the parties, cross claimants, counter claimants, third-party

plaintiffs/defendants and any pending motions are dismissed as moot.

                                           s/Joel A. Pisano, U.S.D.J.
                                            Joel A. Pisano, U.S.D.J.
cc:     Magistrate Judge
